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 7

 8                            IN THE UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                  ) CASE NO. 2:07-CR-00314 LKK
                                                )
12               Plaintiff,                     )
                                                )
13       v.                                     ) ORDER CONTINUING STATUS
                                                ) CONFERENCE
14   JOSE LUIS MORALES, et al.,                 )
                                                )
15               Defendant.                     )
                                                )
16                                              )
17

18         The parties appeared before the Court on July 22, 2014, in the above-entitled case.
19   At that time, based upon the representations and agreement of both counsel, the Court
20   ordered that the status conference set for July 22, 2014 at 9:15 a.m., be continued to
21   August 19, 2014 at 9:15 a.m., and that the time beginning July 22, 2014, extending
22   through August 19, 2014, was excluded from the calculation of time under the Speedy
23   Trial Act. The exclusion of time is appropriate due to defense counsel’s need to prepare,
24   and for continuity of counsel. The additional time is necessary to ensure defense counsel’s
25   effective preparation, taking into account the exercise of due diligence. 18 U.S.C.
26   § 3161(h)(7)(B)(iv); Local Code T4.
27         ACCORDINGLY, it is hereby ordered that the status conference set for July 22,
28
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 1   2014 at 9:15 a.m., be continued to August 19, 2014 at 9:15 a.m., and that the time
 2   beginning July 22, 2014, and extending through August 19, 2014, be excluded from the
 3   calculation of time under the Speedy Trial Act. The Court finds that the interests of
 4   justice served by granting this continuance outweigh the best interests of the public and
 5   the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).
 6         IT IS SO ORDERED.
 7   Dated: August 8, 2014
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                                                                              Order after Hearing
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